Case 2:04-Cv-02805-.]PI\/|-tmp Document 15 Filed 07/26/05 Page 1 of 2 Page|D 27

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IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE 05 _jU|_ 26 m 8: 3a
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MILLICENT P. HoLLINs, W/;:= 05 1 aéEi-¢iPi-BS

Plaintiff,

v.
No. 04-2805 Ml/P
METHODIST HEALTHCARE, INC.
d/b/a METHODIST UNIVERSITY
HOSPITAL,

Defendant.

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JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order Granting Defendant’s Motion to Dismiss
for Lack of Subject Matter Jurisdiction, entered July 21, 2005,
judgment is hereby entered in favor of Defendant Methodist
Healthcare, Inc. d/b/a Methodist University Hospital and against
Plaintiff Millicent P. Hollins.

APPROVED:

mild

JO P. MCCALLA
U ITED STATES DISTRICT COURT

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Date Cle of Court

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This notice confirms a copy of the document docketed as number 15 in
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July 26, 2005 to the parties listed.

 

David P. .1 aqua

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US DISTRICT COURT

